Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                        Exhibit A through I Page 1 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                        Exhibit A through I Page 2 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                        Exhibit A through I Page 3 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                        Exhibit A through I Page 4 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                        Exhibit A through I Page 5 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                        Exhibit A through I Page 6 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                        Exhibit A through I Page 7 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                        Exhibit A through I Page 8 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                        Exhibit A through I Page 9 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 10 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 11 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 12 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 13 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 14 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 15 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 16 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 17 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 18 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 19 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 20 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 21 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 22 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 23 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 24 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 25 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 26 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 27 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 28 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 29 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 30 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 31 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 32 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 33 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 34 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 35 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 36 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 37 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 38 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 39 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 40 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 41 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 42 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 43 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 44 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 45 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 46 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 47 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 48 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 49 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 50 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 51 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 52 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 53 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 54 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 55 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 56 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 57 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 58 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 59 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 60 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 61 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 62 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 63 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 64 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 65 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 66 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 67 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 68 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 69 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 70 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 71 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 72 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 73 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 74 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 75 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 76 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 77 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 78 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 79 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 80 of 81
Case 14-31229-sgj15   Doc 54-1 Filed 03/31/14 Entered 03/31/14 15:14:43   Desc
                       Exhibit A through I Page 81 of 81
